6/22/2018      Case 1:19-cv-11887-TLL-PTM ECF  No.
                                           Record    1-4,
                                                  Details    PageID.61
                                                          | Gratiot             Filed
                                                                    County | BS&A Online06/25/19 Page 1 of 2


       109 S COURT AVE ALMA, MI 48801 (Property Address)
                                                                                                                                                                              D
       Parcel Number: 51-032-779-00

                                                             Property Owner: RMS PROPERTY MANAGEMENT, LLC
                                                              Summary Information
                                                              > Assessed Value: $25,200 | Taxable Value: $24,186         > Property Tax information found

                       No Images Found




            Owner and Taxpayer Information


            Owner                            RMS PROPERTY MANAGEMENT, Taxpayer                                SEE OWNER INFORMATION
                                             LLC
                                             832 MADISON ST
                                             BIRMINGHAM, MI 48009



            General Information for Tax Year 2017


            Property Class                   401 RESIDENTIAL                Unit                              51 CITY OF ALMA
            School District                  DISTRICT 29010 ALMA SCH        Assessed Value                    $25,200
            Map #                            No Data to Display             Taxable Value                     $24,186
            User Number Idx                  0                              State Equalized Value             $25,200
            User Alpha 1                     Not Available                  Date of Last Name Change          09/08/2017
            User Alpha 3                     Not Available                  Notes                             Not Available
            Historical District              Not Available                  Census Block Group                Not Available
            User Alpha 2                     Not Available                  Exemption                         No Data to Display

            Principal Residence Exemption Information


            Homestead Date                   No Data to Display

             Principal Residence Exemption                                                                          June 1st                                          Final

             2018                                                                                                  0.0000 %                                               -

             2017                                                                                                  0.0000 %                                      0.0000 %


            Previous Year Information

             Year                                                           MBOR Assessed                             Final SEV                                Final Taxable

             2016                                                                   $24,800                            $24,800                                     $23,971

             2015                                                                   $23,900                            $23,900                                     $23,900

             2014                                                                   $23,900                            $23,900                                     $23,672


            Land Information


            Zoning Code                                                     Total Acres                       0.090
            Land Value                       $50,400                        Land Improvements                 $0
            Renaissance Zone                 No                             Renaissance Zone Expiration       No Data to Display
                                                                            Date
            ECF Neighborhood                 No Data to Display             Mortgage Code                     No Data to Display
            Lot Dimensions/Comments          No Data to Display             Neighborhood Enterprise           No
                                                                            Zone

             Lot(s)                                                                         Frontage                                                                 Depth

             No lots found.

                                                                           Total Frontage: 0.00 ft                                                  Average Depth: 0.00 ft


            Legal Description

            HALL & SHARRAR ADD N 1/2 OF LOT 38


            Land Division Act Information


https://bsaonline.com/SiteSearch/SiteSearchDetails?SearchFocus=All+Records&SearchCategory=Parcel+Number&SearchText=51-032-779-00&uid=…                                            1/2
6/22/2018       Case 1:19-cv-11887-TLL-PTM ECF  No.
                                            Record    1-4,
                                                   Details    PageID.62
                                                           | Gratiot             Filed
                                                                     County | BS&A Online06/25/19 Page 2 of 2
            Date of Last Split/Combine             No Data to Display                    Number of Splits Left         0
            Date Form Filed                        No Data to Display                    Unallocated Div.s of Parent   0
            Date Created                           No Data to Display                    Unallocated Div.s Transferred 0
            Acreage of Parent                      0.00                                  Rights Were Transferred       Not Available
            Split Number                           0                                     Courtesy Split                Not Available
            Parent Parcel                          No Data to Display



            Sale History

             Sale Date                       Sale Price Instrument               Grantor                           Grantee                           Terms of Sale                      Liber/Page

             08/16/2017                   $25,500.00       QC                     GRATIOT COUNTY                    RMS PROPERTY                      QUIT CLAIM DEED                    1008/980
                                                                                  TREASURER                         MANAGEMENT, LLC

             02/21/2017                          $0.00     FOR                    FOX THOMAS A                      GRATIOT COUNTY                    FORCLOSURE                         1001/1376
                                                                                                                    TREASURER

             02/10/2000                   $35,000.00       WD                                                       FOX                               Arms-Length                        621/441

             02/02/2000                   $35,000.00       WD                                                                                         WARRANTY DEED                      00621:0441

             12/18/1998                   $43,032.00       WD                                                                                         Mortgage Sale                      598/977

             10/31/1994                   $34,900.00       WD                                                       MINSER                            Arms-Length                        564/819

             06/01/1990                   $24,000.00       WD                                                                                         Arms-Length



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https://bsaonline.com/SiteSearch/SiteSearchDetails?SearchFocus=All+Records&SearchCategory=Parcel+Number&SearchText=51-032-779-00&uid=…                                                                             2/2
